Case 1:14-cr-02092-SAB   ECF No. 254   filed 07/29/15   PageID.425 Page 1 of 6
Case 1:14-cr-02092-SAB   ECF No. 254   filed 07/29/15   PageID.426 Page 2 of 6
Case 1:14-cr-02092-SAB   ECF No. 254   filed 07/29/15   PageID.427 Page 3 of 6
Case 1:14-cr-02092-SAB   ECF No. 254   filed 07/29/15   PageID.428 Page 4 of 6
Case 1:14-cr-02092-SAB   ECF No. 254   filed 07/29/15   PageID.429 Page 5 of 6
Case 1:14-cr-02092-SAB   ECF No. 254   filed 07/29/15   PageID.430 Page 6 of 6
